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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 In re:                              )
                                     )
 WW Contractors, Inc.,               )                Case No. 18-12095-BFK
                                     )                Chapter 11
                                     )
                      Debtor.        )
 ____________________________________)

                    WITHDRAWAL OF DEBTOR’S APPLICATION FOR
                   AUTHORITY TO EMPLOY SAUL EWING ARNSTEIN &
                     LEHR LLP AS SPECIAL LITIGATION COUNSEL
          WW Contractors, Inc. (the “Debtor”), the debtor and debtor-in-possession in the above

 captioned chapter 11 case, hereby withdraws without prejudice its Debtor’s Application for

 Authority to Employ Saul Ewing Arnstein & Lehr LLP as Special Litigation Counsel [Docket No.

 52] filed in the above captioned case.

 Dated: November 2, 2018                       WHITEFORD TAYLOR & PRESTON, LLP

                                               /s/ David W. Gaffey
                                               Christopher A. Jones, VSB# 40064
                                               David W. Gaffey, VSB# 85088
                                               Jennifer E. Wuebker, VSB# 91184
                                               3190 Fairview Park Drive, Suite 800
                                               Falls Church, Virginia 22042
                                               Telephone: (703) 280-3374
                                               Email: dgaffey@wtplaw.com

                                               Proposed Counsel for WW Contractors, Inc.




 ________________________________________
 WHITEFORD, TAYLOR & PRESTON, LLP
 Christopher A. Jones, VSB# 40064
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 Proposed Counsel for WW Contractors, Inc.
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                                CERTIFICATE OF SERVICE

        I hereby certify that on November 2, 2018, I caused a copy of the foregoing Withdrawal
 to be served via the Court’s Electronic Case Filing System on all parties requesting notice
 thereby, and by first-class mail, postage prepaid, on the parties listed below.

 Richard Ashford DuBose, III
 Gebhardt & Smith, LLP
 One South Street, Suite 2200
 Baltimore, MD 21202

 Jack Frankel
 Office of the U.S. Trustee
 1725 Duke Street, Suite 650
 Alexandria, VA 22314

                                           /s/ David W. Gaffey
                                           Counsel




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